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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    IN RE: JANUARY 2021 SHORT SQUEEZE
    TRADING LITIGATION



       MOTION AND MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF
         PLAINTIFF MICHAEL OBERLIN FOR A LEADERSHIP POSITION IN
        CONNECTION WITH THE CLAIMS AGAINST TD AMERITRADE AND TO
                   APPROVE HIS SELECTION OF COUNSEL




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                                                 MOTION

            PLEASE TAKE NOTICE that pursuant to the Court’s Order dated April 19, 2021, Plaintiff

    Michael Oberlin will move, before the Honorable Cecilia M. Altonaga, United States District

    Judge for the United States District Court, Southern District of Florida, at Wilkie D. Ferguson, Jr.

    UnitedStates Courthouse, 400 North Miami Avenue Room 12-2, Miami, Florida 33128, on a date

    and ata time designated by the Court, for an Order appointing Plaintiff to a leadership position in

    the present action pending against TD Ameritrade, Inc. and appointing their counsel, Safirstein

    Metcalf LLP and Kantrowitz Goldhamer & Graifman, P.C. Counsel in a leadership role in the present

    matter.This Motion is supported by the accompanying Memorandum of Law in Support of the

    Motion ofPlaintiff Michael Oberlin and accompanying exhibits.

                                       MEMORANDUM OF LAW

       I.      INTRODUCTION and BACKGROUND

            Plaintiff Michael Oberlin hereby moves for appointment to a leadership position in the

    present action pending against TD Ameritrade, Inc. (“TD”). TD is alleged to have prohibited its

    clients from selling multiple publicly traded stocks, including but not limited to GameStop

    (“GME”) and AMC Entertainment (“AMC”). Plaintiff has today filed a complaint alleging

    breach of contract and breach of the implied covenant of good faith and fair dealing.


            Because Mr. Oberlin put in an order for the sale of 50,000 shares that was not properly

    executed by TD, Mr. Oberlin has either the largest, or one of the largest, financial losses of any

    named plaintiff in this litigation against TD.
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            II.      ARGUMENT

            A. Plaintiff And His Counsel Should Be Appointed To Leadership Positions

                  Although Plaintiff’s claims are not brought pursuant to the PSLRA, the PSLRA

        provides valuable guidance regarding the appointment of a lead plaintiff and counsel

        in cases of this type. The PSLRA “requires the court to appoint a ‘lead plaintiff’ in

        private securities class actions who is ‘the member or members of the purported

        plaintiff class that the court determines to be most capable of adequately representing

        the interests of class members.” In re Bank of Am. Corp. Sec. Derivative & ERISA

        Litig., 258 F.R.D. 260, 268 (S.D.N.Y. 2009).

                  Here, Plaintiff has filed a complaint, is a resident of the State of Florida (the

        home state for this MDL litigation), and, by virtue of the failure of TD to properly

        execute Plaintiff’s sell order of 50,000 shares, has either the largest or one of the largest

        financial interests in the outcome of this litigation. We note that under the PSLRA,

        “[t]he most important factor in determining the lead plaintiff is the amount of financial

        interest claimed.” Newman v. Eagle Bldg. Techs., 209 F.R.D. 499, 502 (S.D. Fla.

        2002).

              Moreover, Plaintiff is able to make a prima facie showing that his claims satisfy

       the requirements of Fed. R. Civ. Proc. Rule 23 as to commonality, typicality and

       adequacy.

              Here, the proposed counsel for leadership positions have substantial experience

       handling class actions and other complex litigation. Both Safirstein Metcalf LLP and

       Kantrowitz Goldhamer & Graifman, P.C. have many years of experience litigating all

       aspects of complex litigation throughout the United States. The cases they have litigation
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       as lead or co-lead counsel include both securities fraud litigation and consumer class

       action litigation.

               Safirstein Metcalf LLP is headed by Peter Safirstein, a former Assistant United

       States Attorney in the Southern District of Florida. Mr. Safirstein has specialized in the

       investigation and prosecution of white collar fraud for more than 35 years. Prior to his

       appointed in the Southern District of Florida, Mr. Safirstein served as a Special Assistant

       United States Attorney in the Southern District of New York (Securities and

       Commodities Fraud Division) and as an attorney in the Division of Enforcement at the

       United States Securities and Exchange Commission. Mr. Safirstein has tried federal

       cases to verdict both as part of a team and individually.

               Mr. Safirstein and his partner, Elizabeth Metcalf, have years of experience in the

       class action bar investigating and prosecuting class action matters as set forth in the

       accompanying firm resume annexed hereto as Exhibit A.

               Gary S. Graifman is a senior partner with KGG. KGG is a leading national class

       action firm in the area of consumer class action litigation and under Mr. Graifman’s direction,

       the firm has successfully litigated numerous class matters in this Court and in other courts

       throughout the nation. See KGG Resume attached hereto as Ex. B

               For example, in In re Home Depot Consumer Data Security Breach Litig., 1:14-MD-

       02583-TWT (N.D. Ga.), Mr. Graifman and KGG served on the five-member Plaintiffs’

       Steering Committee. The In re Home Depot matter involved one of the earliest massive data

       breach consumer class actions and affected approximately 50 million consumers. It was

       settled on a nationwide basis in 2016, and the settlement was valued at approximately $27
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       million.

              In addition, Mr. Graifman and KGG were actively involved in litigating the massive

       data breach class action, In re Premera Blue Cross Customer Data Security Breach Litig.

       3:15-md-2633 (D. Ore). In In re Premera, KGG’s client was the sole named plaintiff and

       representative for the California state subclass. The California subclass asserted a claim

       under the California Confidential Medical Information Act, Cal. Civ. Code §§ 56, et seq.,

       which was sustained by the Court and resulted in California residents who had their Personal

       Information breached, receiving additional compensation in the settlement over and above

       that which was available to other class members of the nationwide settlement, based solely

       on that claim.

              Mr. Graifman was also Co-Lead Counsel in the action, Coffeng, et al. v. Volkswagen

       Group of America, et al., 3:17-cvb—01825-JD (N.D. Cal.) which involved defective water

       pumps in certain Volkswagen and Audi vehicles and involved a nationwide class of owners

       and lessees of approximately 873,779 class vehicles. Final Approval was granted to the

       settlement on May 14, 2020 in the Northern District of California and was valued at

       approximately $22 million.

              Mr. Graifman and the firm were also Co-Lead Class Counsel in the related actions,

       Chiarelli, et al. v. Nissan, N.A. 14-CV-4327 (NGG) (E.D.N.Y.) and Duncan, et al. v. Nissan

       N.A., No. 1:16-CV-12120-DJC (D. Mass.), two companion cases involving multi-state

       claims concerning defective timing chains on various Nissan model vehicles. Final Approval

       of the settlement was granted on August 25, 2020 before Judge Denise Casper in the U.S.

       District Court for the District of Massachusetts. The settlement was valued at $8,650,000.

              Mr. Graifman was also co-lead class counsel in In re Volkswagen Timing Chain
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       Product Liability Litig., 16-cv-2765-JLL-JAD (D.N.J.), settled on a nationwide basis in the

       District of New Jersey, involving approximately 477,000 class vehicles. Final approval was

       granted to the settlement on December 14, 2018. The settlement provided one hundred

       percent reimbursement for timing chain repairs to class members and was valued at

       approximately $50 million (inclusive of warranty extension repairs).

              Mr. Graifman was also a member of the Plaintiffs’ Steering Committee in the Multi-

       District Litigation, In re Apple Inc. Device Performance Litig., 5:18-md-02827 (N.D. Cal.

       2018), recently settled in the Northern District of California.

              Mr. Graifman was also Co-Lead Class Counsel in the matter Gelis, et al. v.

       Bayerische Motoren Werke Aktiengesellshaft, et al., pending in the U.S. District Court of the

       District of New Jersey, Civ. Action No. 17-cv-7386-WHW-CLW, involving defective timing

       chain assemblies in certain model BMW vehicles, which was granted final approval on

       February 16, 2021.

              Several other consumer class action cases in which Mr. Graifman has served as lead

       counsel or co-lead counsel have resulted in positive results for plaintiffs’ classes, including:

                     Seifi, et al. v. Mercedes-Benz USA, LLC, No: 5:16-cv-03370-EJD, 2014 WL
                      8370026 (N.D. Cal. Dec. 17, 2014) (KGG was co-lead counsel, and the
                      matter settled on a nationwide basis at the class certification stage. Plaintiffs
                      sought compensation for reimbursement for repairs to various Mercedes
                      model vehicles due to a balance shaft defect. The action settled on a
                      nationwide basis in 2015, valued at approximately $25 million);

                     In re Nissan Radiator Transmission Cooler Litig., No. 10-cv-07493 (VB),
                      2013 WL 4080946 (S.D.N.Y. May 30, 2013) (referred to as “Nissan
                      Radiator Transmission Cooler Litig.”) (KGG was co-lead counsel and the
                      matter settled on a nationwide basis at the class certification stage. The
                      nationwide settlement, approved in May 2013, involved approximately
                      300,00 class vehicles and was valued at approximately $17 million);

                     Sheris v. Nissan North Am., Inc., No. 07-cv-2516 (WHW), 2008 WL
                      2354908 (D.N.J. June 3, 2008) (sustaining breach of warranty and NJCFA
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                      claims. KGG was co-lead counsel and matter subsequently settled on behalf
                      of class); and

                     Heverly v. Symantec Corp., No. 1-05-cv-053711 (Cal. Super. Ct., Santa
                      Clara County) (settled on a nationwide basis against major provider of
                      internet security software).

              Melissa R. Emert is a partner at KGG. She has been representing aggrieved

       consumers and investors for more than 30 years with KGG and with her previous firm. See

       KGG Resume attached hereto as Ex. B. Ms. Emert’s practice specializes in consumer class

       actions with an emphasis on product defect and data breach cases. She has litigated consumer

       cases throughout the United States and holds prominent positions in many large MDLs and

       non-MDL consumer class actions.        As an endorsement of her expertise, substantial

       experience, and successful results, Ms. Emert was recently named as one of two women

       attorneys in the country who received the highest number of appointments to leadership

       structures in nationwide MDLs by the Judges overseeing those MDLs. 1

              Some of Ms. Emert’s appointments and involvement in consumer class actions cases

       include:

                     Court-appointed Co-Lead Counsel in Carder v. Graco Children’s Products,
                      Inc., 2:20-cv-00137-LMM (N.D. Ga. 2021) (alleging state consumer
                      protection and common law claims on behalf of consumers resulting from
                      defendant’s defective and allegedly unsafe children’s car seat products);

                     Court-appointed Co-Lead Counsel in In re: Daily Fantasy Sports Litig., 1:16-
                      md-02677-GAO (D. Mass 2016) (alleging state consumer protection and
                      common law claims on behalf of consumers participating in defendants’
                      online fantasy sports websites);

                     Court-appointed member of Plaintiffs’ Executive Committee in In re: Hill’s
                      Pet Nutrition, Inc. Dog Food Products Liab. Litig., No. 19-md-2887 (D. Kan.
                      2019) (alleging state consumer protection and common law claims on behalf

       1
         See Amanda Bronstad, There Are New Faces Leading MDLs. And They Aren’t All Men.,
       LAW.COM (July 6, 2020, 10:53 p.m.), https://www.law.com/2020/07/06/there-are-new-
       faces-leading-mdls-and-they-arent-all-men/.
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                   of consumers who purchased defective dog food that contained toxic levels
                   of Vitamin D);

                  Discovery Committee in In re: Rock ‘N Play Sleeper Marketing, Sales
                   Practices, & Prods. Liab. Litig., 1:19-md-2903 (W.D.N.Y. 2019) (alleging
                   state consumer protection and common law claims on behalf of consumers
                   who purchased the defective and inherently unsafe Fisher-Price Rock ‘n Play
                   Sleeper for infants);

                  Court-appointed member of Plaintiffs’ Steering Committee in In re: Intel
                   Corp. CPU Mktg. & Prods. Liab. Litig., 3:18-md-02828 (D. Or. 2018)
                   (alleging state consumer protection and common law claims on behalf of
                   purchasers of defective Intel processors);

                  Court-appointed member of Plaintiffs’ Executive Committee in In re: Apple
                   Inc. Device Performance Litig., 5:18-md-02827 (N.D. Cal. 2018) (alleging
                   state consumer protection and common law claims on behalf of iPhone users
                   subject to intentional slowdown);

                  Court-appointed member of Plaintiffs’ Steering Committee in In re: German
                   Auto. Mfrs. Antitrust Litig., 3:17-md-02796 (N.D. Cal. 2017) (alleging
                   anticompetitive conduct in the market for German-made automobiles);

                  Court-appointed member of Plaintiffs’ Steering Committee in In Re: Sonic
                   Corp. Customer Data Security Breach Litig., 1:17-md-02807 (N.D. Ohio
                   2017) (claims on behalf of persons affected by Sonic’s data breach resulted in
                   a class-wide settlement);

                  Court-appointed Interim Class Counsel in In re: Google Location History
                   Litig, 5:18-cv-05062-EJD (N.D. Cal. 2019) (privacy breach action alleging
                   Google tracked millions of mobile device users’ location contrary to false
                   representations);


                  Co-Chair of Plaintiffs’ Vetting Committee in In re Wawa, Inc. Data Breach
                   Litig., No. 19-6019 (E.D. Pa. 2019) (claims on behalf of persons affected by
                   Wawa’s data breach and had their personal information compromised); and

                  Class Representative Communications and Client Vetting Committee in
                   Echavarria, et al. v. Facebook, Inc., Case No. C 18-05982 (N.D. Cal. 2018)
                   (claims on behalf of persons that affected by Facebook’s “View As” data
                   breach).
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              Both Safirstein Metcalf LLP and Kantrowitz Goldhamer & Graifman, P.C. have

       the resources necessary to devote to the prosecution of this litigation.

                   Given proposed Lead Plaintiff and Counsels’ qualifications, this Court should

        approve proposed the requested appointments.



            III.      CONCLUSION

                   For the foregoing reasons, Plaintiff respectfully requests that this Court grant

        his motionto appoint him and his counsel to leadership positions with regard to the

        claims against Defendant TD Ameritrade, Inc.




        Dated: April 26, 2021                              Respectfully submitted,

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                                      10



                                             Pro Hac Vice Admission requested

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